                               UNITED STATES FEDERAL COURT
                                    DISTRICT OF MAINE

DAVID E. MURRAY,                              )
                                              )
                        Plaintiff,            )
                                              )
v.                                            )       Case No. 2:15-cv-00484-DBH
                                              )
WAL-MART STORES, INC. et al.,                 )
WALMART, INC.                                 )
                                              )
                        Defendants.           )

        PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION FOR PROTECTIVE

                                      ORDER (ECF NO. 164)

        David E. Murray, Plaintiff (Pro Se), hereby responds to the Defendants Wal-Mart Stores,

Inc. (“Wal-Mart”), Motion for Protective Order (the “Motion”) ECF No. 164. In support thereof,

the Plaintiff states as follows:

     1. As stated in the Defendants’ Motion paragraph No. 3, the Court held a Discovery

        Conference on September 24, 2018 to deal with the request(s) and with respect to Request

        No. 28, the Court did limit the scope to Assistant Managers and above for a period of four

        years.

     2. On September 27, 2018 the Defendant sent the Plaintiff communication to randomize the

        search, which the Plaintiff found to be unacceptable but the Plaintiff did offer to reduce

        the scope further to only the states of Maine, New Hampshire, Vermont, Massachusetts

        and New York, which was Paul Busby’s previous-old alignment. Reducing the

        Defendants stated burden from 15 states down to a total of only 5 states, which is more

        than reasonable.

     3. The Defendant goes on in an attempt to deflect from the request and the courts decision to

        support the request on September 24, 2018 with facts that are not supported with

        evidence, there should be reports and summaries available upon request from the Human
                                                  1
        Resource Division, IT Division, Payroll Division and Legal Division of annual personnel-

        payroll files and audits that have been completed and include any violations.

    4. As noted in ECF No. 164 paragraph No. 7, this will not cause any confusion but identify

        the timely handling of the paying a terminated associated upon their notification of their

        termination, Wal-Mart has actual policies and checklist(s) in place that should be utilized

        and followed including an EXIT Interview, as the Plaintiff was terminated on October 4,

        2016 via email by Larry Hosey (Exhibit A) and Wal-Mart admits to not keying the Plaintiff

        out of their computer system until January 23, 2017 and the Plaintiff was not paid out per

        26 M.R.S. § 626. Especially see where the Defendant places emphasis on the update of 26

        M.R.S. § 626, that became effective on October 31, 2017 when the Plaintiff was terminated

        on October 4, 2016. Defendant failed to complete an Exit Interview with the Plaintiff,

        which would have triggered the systematic processes.

    5. The Defendant failed to share with the court in paragraph No. 5 of ECF No. 164 that the

        Defendant terminated the Plaintiff of October 4, 2016 via email, (Exhibit A). The

        Defendant also fails to show that Wal-Mart made a deposit into the Plaintiff’s personal

        checking account for $3776.09 on January 26, 2017 and a withdrawal out of the Plaintiff’s

        personal checking account of $3776.09 on January 26, 2017 without any type of

        authorization from the Plaintiff. The Defendants characterization of the monies owed to

        the Plaintiff is missing key factual evidence that has been documented with the court and

        with the Defendant. The Plaintiff did not receive a paystub (Exhibit B) from the Defendant

        until July 31, 20171.

    6. The Defendant’s characterization of “termination” of an associate in paragraph No. 6 is

        injected in a manner that lacks details and is not factually true upon its face, and what

        would one interpret the Defendant’s definition of “Termination” of an Associate because

        as noted in paragraph No. 4 above, Wal-Mart has actual policies and checklist(s) in place


1
 The paystub received has a printed date February 9, 2017, mailed on July 28, 2017 and arrived on July 31, 2017 via
U.S. Mail.
                                                         2
        that should be utilized and followed including an EXIT Interview to ensure the Plaintiff

        would have been keyed out2 of their computer system immediately upon the Plaintiff’s

        October 4, 2016 termination.

    7. The Plaintiff’s claim includes Wal-Mart’s Leadership, RGM and Vice-President, Paul

        Busby was an Officer of the Company when he was the Plaintiff’s supervisor impacting

        Market Managers and Management Associates compensation in 5 different states in the

        Northeast. Again, the Plaintiff has offered the Defendant an additional compromise to get

        the necessary requested information for RPD No. 28, that was discussed in detail during

        the Discovery Conference with the Court on September 24, 2018, in the above paragraph

        No. 2, by reducing the State count by over 60% and the store count dramatically as well.

    8. Wal-Mart has Corporate and Field Human Resource Managers in Markets, Regions and

        Division as well as the Corporate Office that can assist in quickly gathering this

        information for the Defendant as well as other tools and reports being readily available, to

        support the compliance of State Laws, as noted in paragraph No. 3.


        Based on the above information, the Defendant is attempting to argue their PTO Claim in

their Defendants’ Motion for Protective Order when the Motion is about RPD Request no. 28, so

the Plaintiff respectfully requests that the court denies the Defendants’ Motion for Protective

Order, ECF No. 164.

                                                              Respectfully submitted,
Dated: October 19, 2018                                       /s/ David E. Murray
                                                              David E. Murray, Plaintiff, Pro Se.
                                                              16 Trail Road
                                                              Casco, Maine 04015
                                                              (207)-627-3209
                                                              demurr11@gmail.com



2
 Phil Morris April 27, 2017 30(b)(6) deposition, page 48 Morris was asked, “Was it your job to notify other people at
Wal-Mart about the termination so that the termination mechanics would go ahead properly?” Morris responds,
“Not from my point of view, no.” he was then asked, “Who was supposed to do that?” Morris responds, “My
assumption was it was going to be handled by Larry Hosey’s side.”
                                                          3
                                  CERTIFICATE OF SERVICE




         The undersigned certifies that on the date indicated below the foregoing document was
filed electronically with the Clerk of Court using the CM/ECF system; that the same will be sent
electronically to the following counsel at Bernstein Shur, Sawyer and Nelson P.A., counsel for the
Defendant:




Ronald W. Schneider, Jr. rschneider@bersteinshur.com
Amber R. Attalla aattalla@bernsteinshur.com
Eben M. Albert ealbert@bernsteinshur.com


Dated: October 19, 2018
                                                            /s/ David E. Murray
                                                           David E. Murray, Plaintiff, Pro Se.
                                                           16 Trail Road
                                                           Casco, Maine 04015
                                                           (207)-627-3209
                                                           demurr11@gmail.com




                                                4
